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                                                    Attorneys for Defendant L’Oréal USA, Inc.
12
                          UNITED STATES DISTRICT COURT FOR THE
13
                              NORTHERN DISTRICT OF CALIFORNIA
14

15   LYNN ZIMMERMAN, TONI HEUCHAN,                     Case No. 4:22-cv-07609-HSG
     AND MARIE GIORDANO, as individuals, on
16   behalf of themselves, the general public, and     STIPULATION AND ORDER TO
     those similarly situated,                         CONTINUE JOINT CASE
17                                                     MANAGEMENT STATEMENT
                                   Plaintiffs,         DEADLINE
18
            v.                                         Case Management Date: January 9, 2024
19
     L’ORÉAL USA, INC.,                                Hon. Haywood S. Gilliam, Jr.
20
                                   Defendant.
21

22          Pursuant to Federal Rule of Civil Procedure 16 and Civil Local Rule 16-2(d), the above
23   captioned Parties, by and through their undersigned counsel, stipulate as follows:
24          WHEREAS, the current deadline to file the Parties’ Joint Case Management Statement is
25   January 2, 2024 (Dkt. 75);
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28     STIPULATION AND ORDER TO CONTINUE JOINT CASE MANAGEMENT STATEMENT DEADLINE
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 1          WHEREAS, the Parties are engaged in continuing discussions regarding certain aspects
 2   of the Joint Case Management Statement;
 3          WHEREAS, particularly in light of the holidays, additional time to continue these
 4   discussions would promote judicial efficiency;
 5          WHEREAS, the continuance requested herein will otherwise have no effect on the
 6   schedule for the case;
 7          THEREFORE, the Parties, by and through their respective counsel, hereby stipulate and
 8   agree that, subject to the Court’s approval, the deadline to file the Parties’ Joint Case
 9   Management Statement with the Court shall be continued to January 5, 2024.
10          IT IS SO STIPULATED AND AGREED
11   Dated: December 26, 2023
12
     GUTRIDE SAFIER LLP                                  FARELLA BRAUN + MARTEL LLP
13

14   s/ Hayley A. Reynolds                               s/ Thomas B. Mayhew
     Seth A. Safier (State Bar No. 197427)               Thomas B. Mayhew (State Bar No. 183539)
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27
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28     STIPULATION AND ORDER TO CONTINUE JOINT CASE MANAGEMENT STATEMENT DEADLINE
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                                                 SIGNATURE ATTESTATION
 1

 2           I hereby attest that I have obtained the consent of Hayley A. Reynolds, counsel for

 3   Plaintiffs, for the filing of this stipulation.

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 5                                                     /s Thomas B. Mayhew
                                                       Thomas B. Mayhew
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28     STIPULATION AND ORDER TO CONTINUE JOINT CASE MANAGEMENT STATEMENT DEADLINE
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                                                 ORDER
 1

 2          Pursuant to the stipulation of the Parties, the deadline to file a Joint Case Management

 3   Statement shall be continued to January 5, 2024.

 4

 5
      DATED: 12/27/2023                                  __________________________
 6
                                                         Haywood S. Gilliam, Jr.
 7                                                       United States District Judge

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28     STIPULATION AND ORDER TO CONTINUE JOINT CASE MANAGEMENT STATEMENT DEADLINE
                                  CASE NO. 4:22-CV-07609-HSG
